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 5
                               UNITED STATES DISTRICT COURT
 6                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 7

 8   UNITED STATES OF AMERICA,

 9                            Plaintiff,                 Case No. MJ20-568 MLP

10          v.                                           DETENTION ORDER

11   KYLE MICHAEL ISAACSON,

12                            Defendant.

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14   Offenses charged:

15          Count 1:       Possession of Controlled Substances with Intent to Distribute in violation

16          of 21 U.S.C. § 841(a)(1) and § 841(b)(1), (C)

17          Count 2:       Carrying a Firearm During and in Relation to a Drug Trafficking Crime in

18          violation of 18 U.S.C. § 924(c)(1)(A)(i)

19          Count 3:       Felon in Possession of a Firearm in violation of 18 U.S.C. §922(g)(1) and §

20          924(a)(2)

21   Date of Detention Hearing: On September 14, 2020, the Court held a hearing via a WebEx

22   videoconference, with the consent of Defendant, due to the exigent circumstances as outlined in

23   General Order 13-20. This detention order is without prejudice to renewing once the court has

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 1   reconstituted in-person hearings.

 2          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

 3   based upon the reasons for detention hereafter set forth, finds:

 4          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

 5          1.       There is a rebuttable presumption of detention pursuant to 18 U.S.C. § 3142(e).

 6          2.       Defendant stipulated to detention.

 7          3.       Defendant poses a risk of nonappearance due to the length of the sentence he faces

 8                   if he is convicted of the charged offenses. Defendant poses a risk of danger due to

 9                   the nature of charged offenses, particularly the charges involving firearms. Based

10                   on these findings, and for the reasons stated on the record, there does not appear to

11                   be any condition or combination of conditions that will reasonably assure the

12                   Defendant’s appearance at future court hearings while addressing the danger to

13                   other persons or the community.

14          4.       Taken as a whole, the record does not effectively rebut the presumption that no

15                   condition or combination of conditions will reasonably assure the appearance of the

16                   Defendant as required and the safety of the community.

17          IT IS THEREFORE ORDERED:

18          (1)      Defendant shall be detained pending trial, and committed to the custody of the

19                   Attorney General for confinement in a correction facility separate, to the extent

20                   practicable, from persons awaiting or serving sentences or being held in custody

21                   pending appeal;

22          (2)      Defendant shall be afforded reasonable opportunity for private consultation with

23                   counsel;

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 1         (3)    On order of a court of the United States or on request of an attorney for the

 2                government, the person in charge of the corrections facility in which Defendant is

 3                confined shall deliver the defendant to a United States Marshal for the purpose of

 4                an appearance in connection with a court proceeding; and

 5         (4)    The Clerk shall direct copies of this Order to counsel for the United States, to

 6                 counsel for the Defendant, to the United States Marshal, and to the United States

 7                 Pretrial Services Officer.

 8         Dated this 15th day of September, 2020.


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10                                                      MICHELLE L. PETERSON
                                                        United States Magistrate Judge
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     DETENTION ORDER - 3
